     Case 3:19-md-02885-MCR-HTC Document 3269 Filed 07/06/22 Page 1 of 3




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                    Case No. 3:19-md-02885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                         Judge M. Casey Rodgers
Document Relates to:                     Magistrate Judge Gary R. Jones



                                         Civil Action No.
PLAINTIFF(S),

v.

3M COMPANY, ET AL.

DEFENDANTS.


                          NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Hampton French of the law firm SEGAL,

MCCAMBRIDGE, SINGER & MAHONEY, LTD., has been admitted to practice

in this Court and hereby enters his appearance as counsel for Defendant, 3M

Company, 3M Occupational Safety LLC, Aearo Technologies LLC, Aearo Holding,

LLC, Aearo Intermediate, LLC and Aearo, LLC.

       Counsel requests all further papers and pleadings in this action and the Master

Docket of MDL 2885 be served upon him.




                                          1
  Case 3:19-md-02885-MCR-HTC Document 3269 Filed 07/06/22 Page 2 of 3




DATED:   July 6, 2022

                                Respectfully submitted,

                                /s/ Hampton S. French
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                                ARDC #6338277
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                                Counsel for Defendants 3M Company, 3M
                                Occupational Safety LLC, Aearo
                                Technologies LLC, Aearo Holding, LLC,
                                Aearo Intermediate, LLC and Aearo, LLC




                                   2
   Case 3:19-md-02885-MCR-HTC Document 3269 Filed 07/06/22 Page 3 of 3




                         CERTIFICATE OF SERVICE

      I do hereby certify that on this 6th day of July, 2022, a true and correct copy

of the foregoing was electronically filed with the Clerk of Court and served using

the CM/ECF system.



                                       /s/ Hampton S. French
                                       Hampton S. French




                                          2
